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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                 Eastern Division

Doris Agbefe
                                                     Plaintiff,
v.                                                                Case No.:
                                                                  1:19−cv−04397
                                                                  Honorable Gary
                                                                  Feinerman
BOARD OF EDUCATION OF THE CITY OF
CHICAGO
                                                     Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, May 11, 2021:


         MINUTE entry before the Honorable Gary Feinerman:For the reasons set forth in
the accompanying Memorandum Opinion and Order, Defendant's motion to dismiss [14]
is denied in part (as to the Section 1983 claim) and granted in part (as to the Title VI and
Title IX claims). If Plaintiff wishes to replead the Title VI and Title IX claims, she must
file an amended complaint by 6/2/2021. If Plaintiff does not replead within that
timeframe, the dismissals of those claims will convert automatically to dismissals with
prejudice, and Defendant shall answer the surviving portions of the complaint by
6/16/2021. By 6/22/2021, the parties shall file a joint status report addressing: (1) the
discovery they have taken thus far; (2) the discovery that remains to be taken, including
on the assumption that Plaintiff will amend the complaint to add a Title VII claim; and (3)
when Plaintiff anticipates receiving a right−to−sue notice for the Title VII claim.Mailed
notice.(jlj, )




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